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                                                                                    U.S. DISTRICT COURT
                                                                                        N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION

GRADY BROWN,                                 )
                                             )
       Petitioner,                           )
                                             )
v.                                           )   Case No. 2:17-cv-01222-MHH-GMB
                                             )
COUNTY OF JEFFERSON, et al.,                 )
                                             )
       Respondents.                          )

                          MEMORANDUM OPINION

      On July 14, 2020, the magistrate judge appointed to this case entered a report

in which he recommended that the Court deny petitioner Grady Brown’s request for

federal habeas corpus relief pursuant to 28 U.S.C. § 2254 because Mr. Brown filed

his petition after the one-year deadline for the petition expired. (Doc. 10). Judge

Borden also recommended against a certificate of appealability.             (Doc. 10).

Although the parties were advised of their right to file written objections within 14

days, the Court has not received objections.

      A district court “may accept, reject, or modify, in whole or in part, the findings

or recommendations made by the magistrate judge.” 28 U.S.C. § 636(b)(1)(C). A

district judge must “make a de novo determination of those portions of the

[magistrate judge’s] report or specified proposed findings or recommendations to

which objection is made.” 28 U.S.C. § 636(b)(1); see also FED. R. CRIM. P. 59(b)(3)
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(“The district judge must consider de novo any objection to the magistrate judge’s

recommendation.”). Although § 636(b)(1) “does not require the [district] judge to

review an issue de novo if no objections are filed, it does not preclude further review

by the district judge, sua sponte or at the request of a party, under a de novo or any

other standard.” Thomas v. Arn, 474 U.S. 140, 154 (1985).

      After review, the Court agrees that Mr. Brown’s federal habeas petition is

time-barred. The Court notes that Mr. Brown is parole-eligible on his sentence for

Count One, (Doc. 5-4), so Mr. Brown should review the procedures and deadlines

for parole consideration. By separate order, the Court will dismiss this action with

prejudice, and the Court will not issue a certificate of appealability.

      DONE and ORDERED this September 25, 2020.


                                     _________________________________
                                     MADELINE HUGHES HAIKALA
                                     UNITED STATES DISTRICT JUDGE
